

People v Lorenzo-Perez (2020 NY Slip Op 01931)





People v Lorenzo-Perez


2020 NY Slip Op 01931


Decided on March 18, 2020


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 18, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

WILLIAM F. MASTRO, J.P.
JOHN M. LEVENTHAL
ROBERT J. MILLER
COLLEEN D. DUFFY
HECTOR D. LASALLE, JJ.


2017-09780
 (Ind. No. 16-00086)

[*1]The People of the State of New York, respondent,
vThomas Lorenzo-Perez, appellant.


Alan McGeorge, Nanuet, NY, for appellant.



DECISION &amp; ORDER
Appeal by the defendant from a judgment of the County Court, Rockland County (Barry E. Warhit, J., at plea; Kevin F. Russo, J., at sentence), rendered January 25, 2017, convicting him of attempted murder in the second degree, upon his plea of guilty, and imposing sentence. Assigned counsel has submitted a brief in accordance with Anders v California (386 US 738), in which he moves for leave to withdraw as counsel for the appellant.
ORDERED that the motion of Alan McGeorge for leave to withdraw as counsel is granted, and he is directed to turn over all papers in his possession to new counsel assigned herein; and it is further,
ORDERED that Warren S. Hecht, 118-21 Queens Blvd., Suite 518, Forest Hills, NY 11375, is assigned as counsel to prosecute the appeal; and it is further,
ORDERED that the respondent is directed to furnish a copy of the certified transcript of the proceedings to the appellant's new assigned counsel; and it is further,
ORDERED that new counsel shall serve and file a brief on behalf of the appellant within 90 days of this decision and order on motion, and the respondent shall serve and file its brief within 30 days after the brief on behalf of the appellant is served and filed. By prior decision and order on motion of this Court dated March 14, 2018, the appellant was granted leave to prosecute the appeal as a poor person, with the appeal to be heard on the original papers, including a certified transcript of the proceedings, and on the briefs of the parties. The parties are directed to file one original and five duplicate hard copies, and one digital copy, of their respective briefs, and to serve one hard copy on each other (see 22 NYCRR 1250.9[a][4]; [c][1]).
The brief submitted by the defendant's assigned counsel pursuant to Anders v California (386 US 738) is deficient in that it fails to evaluate whether the plea was advantageous to the defendant in light of the potential availability of an intoxication defense, and fails to provide the relevant colloquy/facts concerning the defendant's purported waiver of his right to appeal with citation to legal authority (see People v Swenson, 130 AD3d 848, 849; People v Johnson, 126 AD3d 916, 917). Further, the brief fails to analyze whether the defendant has a nonfrivolous claim that the sentence imposed was excessive (see People v Smith, 32 AD3d 553, 554-555). Since the brief does [*2]not demonstrate that assigned counsel fulfilled his obligations under Anders v California, we must assign new counsel to represent the defendant (see Matter of Giovanni S. [Jasmin A.], 89 AD3d 252, 258).
Moreover, upon this Court's independent review of the record, we conclude that nonfrivolous issues exist, including, but not necessarily limited to, whether the defendant was deprived of the effective assistance of trial counsel, whether the purported waiver of the defendant's right to appeal is valid (see People v Pelaez, 100 AD3d 803), and whether the sentence imposed was excessive (see generally People v Delgado, 80 NY2d 780; People v Suitte, 90 AD2d 80, 85-86).
MASTRO, J.P., LEVENTHAL, MILLER, DUFFY and LASALLE, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








